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1                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON
2                                TACOMA DIVISION
3

4    ALLEN TAYLOR                                     Case No.: 3:19−cv−05086−BHS

5                                                     PLAINTIFF’S MEMORANDUM OF
                   Plaintiff,                         LAW IN OPPOSITION TO
6           v.                                        DEFENDANT ALORE, LLC’S
                                                      MOTION FOR JUDGMENT ON THE
7    ALORE, LLC                                       PLEADINGS
8
                 Defendant.
9

10

11          Plaintiff Allen Taylor (“Plaintiff”), hereby submits this Memorandum of Law in

12   Opposition to Defendant Alore, LLC’s (“Defendant’s”) Motion for Judgment on the

13   Pleadings as to Plaintiff’s Count II for alleged violations of the Washington Consumer

14   Protection Act (“CPA”). (Doc. 25). The Court should deny Defendant’s motion because
15   Plaintiff has properly plead facts which establish a CPA cause of action. Further, contrary
16   to Defendant’s claim, Washington courts have not broadly determined that “telephone
17   solicitations are insufficient to sustain a CPA claim.”
18          Under Washington law, there are two independent approaches for a plaintiff to
19   satisfy a CPA private action claim and Plaintiff does, as a matter of law, successfully
20   establish his CPA claim through both methods.
21

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                                                                        PLAINTIFF’S OPPOSITION TO
                                                                               DEFENDANT’S MJOP
                                                                         CASE # 3:19−CV−05086−BHS
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 1              I. INTRODUCTION
 2
             Plaintiff has brought claims against Defendant Alore for violations of the Telephone
 3
     Consumer Protection Act (“TCPA”), Revised Code of Washington’s Unfair Business
 4
     Practices – Consumer Protection Act Chapter 19.86. (“CPA”), Invasion of Privacy –
 5
     Intrusion Upon Seclusion, Revised Code of Washington’s Dialing and Announcing Device
 6
     Act 80.36.400 (“WADAD”), and Revised Code of Washington’s Telephone Solicitation
 7
     Act 80.36.390 (“WDNC”). This opposition is in response to Defendant’s Motion for
 8
     Judgment on the Pleadings regarding only the CPA claim1; however, Plaintiff’s WADAD
 9
     claim is implicated, as discussed more fully herein, and will also be expounded upon.
10
             This Court should deny Defendant’s motion for judgment on the pleadings because
11
     the Court cannot, as a matter of law, determine that Defendant did not violate the CPA.
12
     Plaintiff satisfies two independent, alternative means of showing a violation of the CPA in
13
14
     a private action; (1) Defendant cannot show, by law, that it did not violate WADAD, which

15   provides a statutory inference that the CPA was violated; and (2) Defendant cannot show,

16   by law, that Plaintiff has failed to establish the five Hangman Ridge elements. For these

17   reasons, set forth more fully below, Plaintiff respectfully requests this Court deny

18   Defendant’s motion for judgment on the pleadings.

19              II. LEGAL STANDARD
20
             Under Rule 12(c) of the Federal Rules of Civil Procedure, a party may move for
21
     judgment on the pleadings any time after the pleadings are closed, so long as the motion is
22
     filed in sufficient time that it will not delay trial. Fed. R. Civ. Proc. 12(c). A defense of
23
     failure to state a claim upon which relief can be granted can be raised in a motion for
24
     judgment on the pleadings. Fed. R. Civ. Proc. 12(h)(2); Aldabe v. Aldabe, 616 F.2d 1089,
25
26
     1
       Defendant filed concurrently this motion for judgment on the pleadings regarding Plaintiff’s CPA claim
27   and an opposition to Plaintiff’s motion for leave to amend, which amended facts based on new information
     learned after the original complaint was filed and added two state law claims, WADAD and WDNC. The
28   CPA and WADAD are intertwined through statute as discussed herein.

                                                                      PLAINTIFF’S MEMORANDUM OF LAW IN
                                                      -1-                OPPOSITION TO DEFENDANT’S MJOP
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 1   1093 (9th Cir. 1980) (“Rule 12(h)(2) should be read as allowing a motion for judgment on
 2   the pleadings, raising the defense of failure to state a claim, even after an answer has been
 3   filed”).
 4          Motions for judgment on the pleadings based on a failure to state a claim and motions
 5   to dismiss under Rule 12(b)(6) “are functionally identical, [and] the same standard of review
 6   applicable to a Rule 12(b) motion applies to its Rule 12(c) analog.” Dworkin v. Hustler
 7   Magazine, Inc., 867 F.2d 1188, 1192 (9th Cir. 1989). “For the purposes of the motion, the
 8   allegations of the non-moving party must be accepted as true, while the allegations of the
 9   moving party which have been denied are assumed to be false.” Hal Roach Studios, Inc. v.
10   Richard Feiner and Co., Inc., 896 F.2d 1542, 1550 (9th Cir. 1990).
11          In deciding a motion for judgment on the pleadings, the court is generally limited to
12   the pleadings and may not consider extrinsic evidence. However, a district court may
13
     consider (1) exhibits to the nonmoving party’s pleading, (2) documents that are referenced
14
     in the non-moving party’s pleading, and (3) facts that are included in materials that can be
15
     judicially noticed. Yang v. Dar Al–Handash Consultants, 250 Fed. Appx. 771, 772 (9th Cir.
16
     May 21, 2007).
17
      III. FACTS RELEVANT TO THIS MOTION
18
19          The facts as plead by Plaintiff and restated below must accepted as true for the

20   purposes of this Rule 12(c) motion. Vawter v. Quality Loan Service Corp., 707 F. Supp. 2d

21   1115 (W.D. Wash. 2010) (“the court must accept all factual allegations in the complaint as

22   true and construe them in the light most favorable to the non-moving party").

23          Plaintiff, who is seventy-two (72) years old, will testify that back in 2017 he
24   completed a website form offering free diabetic test supplies. (Doc. 21-2 ¶¶12, 15) He later
25   learned that the products were not actually “free,” but were instead wholly paid for by
26   Medicare directly to Alore. (Id.)
27          In or around June 2018, after Plaintiff had received more “free” supplies than he
28   could use, he asked Alore to stop sending him supplies, cancel his account, and stop calling

                                                               PLAINTIFF’S MEMORANDUM OF LAW IN
                                                 -2-              OPPOSITION TO DEFENDANT’S MJOP
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 1   him. (Id. ¶16) However, Plaintiff continued to be bombarded by prerecorded telemarketing
 2   robocalls and automated prerecorded voicemails. (Id. ¶¶ 24, 31) Through the informal
 3   exchange of documents in this case, Plaintiff has already provided Defendant his cell phone
 4   records showing at least ten (10) calls from Alore where he answered and revoked consent.
 5   Even though Plaintiff was no longer a customer of Alore after his first revocation (as he had
 6   expressly terminated any prior relationship) he continued to receive unwanted
 7   telemarketing calls from Alore. (Doc. 19 at 3) Not only was there no easy way for Plaintiff
 8   to “opt out” of receiving the calls, there was no way to opt out of them directly from the
 9   automated message. (Doc. 21-2 ¶31) The messages stated Alore pharmacy was calling and
10   that Plaintiff should contact Alore at 866-938-4482 if he was ready to reorder supplies. Id.
11   The was no “opt-out” option given. Plaintiff felt harassed by the calls, frustrated they would
12   not stop after multiple requests, and uncomfortable that he was participating in a fraud upon
13
     Medicare. (Id. ¶18) As a realtor, Plaintiff had visited many homes of elderly occupants with
14
     large stacks of unused test strips from Alore. (Id. ¶17).
15
            Defendant has already conceded Alore called Plaintiff at least twenty-nine (29) times
16
     after Alore had recorded on December 17 and 18, 2018 that he expressly revoked any
17
     consent to call his cell phone and cancelled his account (Doc. 19 at 4) (Plaintiff alleges the
18
     date of revocation was months earlier and there were at least fifty (50) post-revocation calls
19
     between June 2018 and February 2019). (Doc. 21-2 ¶30) Defendant has also conceded that
20
     its system qualifies as an Automated Telephone Dialer System (“ATDS”). (Doc. 21 at 2).
21
     Thus, Plaintiff has already satisfied every element required for an actionable TCPA claim.
22
     Defendant tied up Plaintiff’s cellular phone and used up his voicemail capacity; he cellular
23
     voicemail box filled up frequently. (Doc. 21-2 ¶17) Plaintiff takes care of multiple elderly
24
     and ill family members and friends with diabetes, Parkinson’s, and other illnesses. He must
25
     be reachable by cell phone for them twenty-four hours a day. Defendant’s continued calls
26
     interrupted his ability to help them and invaded his privacy. Further Defendant shipped
27
     Plaintiff so many test strips “that he could never use them all.” (Doc. 21-2 ¶16) Plaintiff
28

                                                                 PLAINTIFF’S MEMORANDUM OF LAW IN
                                                  -3-               OPPOSITION TO DEFENDANT’S MJOP
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 1   does not think he will be able to use them all before they expire and feels guilty because
 2   Medicare paid for them.
 3    IV. ARGUMENT
 4
            The Washington Consumer Protection Act (“CPA”), RCW 19.86, was enacted by
 5
     the Legislature to “protect the public and foster fair and honest competition.” Hangman
 6
     Ridge v. Safeco Title, 105 Wash. 2d 778, 783 (Wash. 1986). There are two ways a plaintiff
 7
     may satisfy the requirements of a private action CPA claim; (1) any violation of the
 8
     Washington Automatic Dialing and Announcing Device (“WADAD”), RCW 80.36.400, is
 9
     a per se violation of the CPA. See RCW 80.36.400(3); or (2) by establishing the five
10
     Hangman Ridge elements. See Hangman, 105 Wash 2d at 778. Plaintiff satisfies his CPA
11
     claim using both methods. Each approach will be discussed in turn.
12
13             A. Defendant’s Violations Of WADAD Are Per Se Violations Of The CPA

14          The WADAD states that “A violation of this section is a violation of chapter 19.86
15   RCW.” See RCW 80.36.400(3); see also Gragg v. Orange Cab Co., Inc., 942 F.Supp.2d
16   1111, 1117–18 (W.D. Wash. 2013) (citing the WADAD language as an example of how
17   the Legislature can ensure that a statutory violation will per se establish all five elements of
18   a CPA violation). Plaintiff’s First Amended Complaint alleges that Defendant violated the
19   WADAD. (Doc. 21-2 ¶¶48-54).
20
               1. Plaintiff’s WADAD Claim Is Valid
21
            Defendant does not dispute that it used an automatic dialing and announcing device
22
     to contact Plaintiff as alleged. (Doc. 21 at 2) An automatic dialing and announcing device
23
     is “a device which automatically dials telephone numbers and plays a recorded message
24
     once a connection is made” for “commercial solicitation” purposes. RCW 80.36.400(1).
25
     Defendant also does not dispute that Defendant continued to call Plaintiff after he did in
26
     fact revoke any consent for Defendant to call (Doc. 19, 3) and asked Defendant to stop
27
     shipping him unwanted supplies (Id.). In fact, through an informal exchange of documents,
28

                                                                 PLAINTIFF’S MEMORANDUM OF LAW IN
                                                  -4-               OPPOSITION TO DEFENDANT’S MJOP
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 1   Defendant provided Plaintiff with a screenshot of its system showing a note from an Alore
 2   agent in December 2018 stating that on that call, Plaintiff “Was Getting [test strips] from a
 3   Local Pharmacy, Placed Number on Do Not Call List and Cancel Account.” However,
 4   Alore continued to call Plaintiff many times after its own system listed Plaintiff as “Do Not
 5   Call.” Plaintiff revoked consent and asked for his account to be cancelled in June 2018, long
 6   before Alore finally made a notation in its system (Doc. 21-2 ¶13), and he revoked on
 7   multiple occasions (Id. ¶25).
 8          The TCPA requires “prior express consent” for non-telemarketing calls (47 U.S.C.
 9   § 227(b)(1)(A)(iii)), but requires “prior express written consent” for any telemarketing calls
10   (47 C.F.R. § 64.1200(a)(2)). Defendant did not have either “prior express consent” (for non-
11   telemarketing calls) or “prior express written consent” (for telemarketing calls) once
12   Defendant revoked consent in June 2018. The TCPA defines “telemarketing” as “the
13
     initiation of a telephone call or message for the purpose of encouraging the purchase . . . of,
14
     . . ., goods, or services, which is transmitted to any person.” 47 C.F.R. § 64.1200(f)(12).
15
     Defendant called Plaintiff for the sole purpose of encouraging him to purchase diabetic test
16
     supplies. Defendant does not dispute that it never obtained written consent for all calls after
17
     Plaintiff’s revocation and Defendant does not dispute that it never obtained verbal consent
18
     after Plaintiff’s revocation. Therefore, Defendant had NO consent to call Plaintiff. Given
19
     there was no consent and no existing business relationship, those calls could only be
20
     considered telemarketing calls.
21
               2. The FCC Has Promulgated Two Exceptions To The TCPA For Certain Calls
22
                  Related to Health Care Which Are Relevant Here
23
            Defendant argues in its Opposition to Plaintiff’s Motion for Leave to Amend
24
     Complaint, which added a WADAD claim, that Plaintiff’s leave to amend should be denied
25
     because Plaintiff’s WADAD claim is “futile.” (Doc 24 at 4) Defendant does not argue that
26
     Plaintiff does not meet the elements necessary to prevail in a WADAD claim (he does);
27
     instead, Defendant argues that a TCPA exception for calls related to health care should
28

                                                                PLAINTIFF’S MEMORANDUM OF LAW IN
                                                  -5-              OPPOSITION TO DEFENDANT’S MJOP
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 1   apply to WADAD, while citing no authority that Washington courts have ever done so.
 2   However, even if this Court does apply a TCPA health care exception to WADAD,
 3   Plaintiff’s claim is still valid, as discussed below. Two health care exceptions will be
 4   discussed here as it is unclear to which exception Defendant is referring. Id.
 5           The first TCPA exception is the “Health Care Rule” exception, which was codified
 6   as 47 C.F.R. § 64.1200(a)(2) as part of the 2012 TCPA Order that increased the consent
 7   requirement for automated telemarketing calls to need “prior express written consent.”
 8   Jackson v. Safeway, Inc., No. 15-CV-04419-JSC, 2016 U.S. Dist. LEXIS 140763 (N.D. Cal.
 9   Oct. 11, 2016) allows only prior express consent for calls that deliver a “health care”
10   message based on a business relationship but requires prior express written consent for all
11   other telemarketing calls. See 47 C.F.R. § 64.1200(a)(2); see also In re Rules & Regulations
12   Implementing the Tel. Consumer Protection Act of 1991, 27 FCC Rcd. 1830, 1838 ¶ 20
13
     (Feb. 2012) (hereinafter "2012 TCPA Order").
14
             The second TCPA health care exception is the “Health Care Treatment” exception2,
15
     codified in 47 U.S.C. § 227(b)(2)(C). See Coleman v. Rite Aid of Georgia, Inc., 284 F. Supp.
16
     3d 1343 (N.D. Ga. 2018). In 2015, the FCC created the regulatory exception to the TCPA
17
     “when it granted an exemption requested by the American Association of Healthcare
18
     Administrative Management (“AAHAM”).” Id. (citing In the Matter of Rules &
19
     Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30 F.C.C. Rcd. 7961
20
     (hereinafter “2015 TCPA Order”), at 8030). The AAHAM requested that the FCC “exempt
21
     from the TCPA's prior-express-consent requirement certain non-telemarketing, healthcare
22
     calls that are not charged to the called party.” Id. at 1349. The FCC granted the AAHAM’s
23
24
     2
25     The Coleman court referred to the 47 U.S.C. § 227(b)(2)(C) exception as the “Health Care Treatment”
     exception, but it is also referred to as the “Exigent Healthcare Treatment Exemption,” as Plaintiff called it
26   in his Reply in Support of His Motion for Leave to Amend Complaint. 47 U.S.C. § 227(b)(2)(C) states that
     the FCC “may, by rule or order, exempt from the requirements of paragraph (1)(A)(iii) of this subsection
27   calls to a telephone number assigned to a cellular telephone service that are not charged to the called party,
     subject to such conditions as the Commission may prescribe as necessary in the interest of the privacy
28   rights this section is intended to protect.”

                                                                         PLAINTIFF’S MEMORANDUM OF LAW IN
                                                         -6-                OPPOSITION TO DEFENDANT’S MJOP
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 1   request, subject to certain conditions, “but restrict[ed] it to calls for which there is exigency
 2   and that have a healthcare treatment purpose . . .” Id. (citing the 2015 TCPA Order, at 8031).
 3           Each TCPA health care exception will now be discussed in turn.
 4              3. Alore’s Calls Were “Telemarketing” Calls; The TCPA “Health Care Rule”
 5                 Exception Does Not Apply Because Alore Did Not Have Consent To Call
                   Plaintiff
 6
             The cases cited by Defendant in its Opposition to Plaintiff’s Motion for Leave to
 7
     Amend Complaint to support its TCPA Health Care Rule exception argument all have a
 8
     fundamental distinction from the instant case: the plaintiffs in those cases were all existing
 9
     customers who had given consent to be called by the defendants and had never revoked that
10
11
     consent. Again, here Alore concedes that Defendant called Plaintiff after he revoked

12   consent and cancelled his account (Doc. 19 at 3), thus terminating any prior business

13   relationship.

14              a) To Qualify For The TCPA Health Care Rule Exception, The Caller Must Be
                   A “Covered Entity” or “Business Associate” And Have “Consent.”
15
             A telemarketing call made using an autodialer requires prior express written consent
16
     under the TCPA. 47 C.F.R. § 64.1200(a)(2). Under the TCPA Health Care Rule exception,
17
     the TCPA is excepted for “health care message[s]” only when; (1) prior express consent
18
     has been given (it need not be written); and (2) the message is made by a “covered entity”
19
     or “business associate.” Id. Specifically, the TCPA Health Care Rule exception provides
20
     that;
21
                     “No person or entity may: Initiate, or cause to be initiated, any
22                   telephone call that includes or introduces an advertisement or
23                   constitutes telemarketing, using an automatic telephone dialing
                     system or an artificial or prerecorded voice, to any of the lines or
24
                     telephone numbers described in paragraphs (a)(1)(i) through (iii) of
25                   this section, other than a call made with the prior express written
26                   consent of the called party or the prior express consent of the called
                     party when the call is made by or on behalf of a tax-exempt nonprofit
27
                     organization, or a call that delivers a “health care” message made
28

                                                                 PLAINTIFF’S MEMORANDUM OF LAW IN
                                                   -7-              OPPOSITION TO DEFENDANT’S MJOP
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 1                 by, or on behalf of, a “covered entity” or its “business associate,”
 2                 as those terms are defined in the HIPAA Privacy Rule…”

 3   Id. (emphasis added). One of the cases relied upon by Defendant, makes the two

 4   requirements above clear. In Latner v. Mount Sinai Health Sys., Inc., the plaintiff went to a

 5   Mt. Sinai facility, WPMG, for a routine health examination and filled out new patient forms,

 6   providing his contact information for "for payment, treatment and hospital operations

 7   purposes." Latner v. Mount Sinai Health Sys., Inc., 879 F.3d 52, 53 (2d Cir. 2018). Later he

 8   returned to WPMG and declined any immunizations. Id. He then received a single text

 9   message reading; “Its flu season again. Your PCP at WPMG is thinking of you! Please call

10   us at 212-247-8100 to schedule an appointment for a flu shot.” Id. at 54. WPMG only sent

11   the texts to “active patients of WPMG.” Id. The Second Circuit Court of Appeals found the

12   District Court’s analysis “incomplete.” The Appellate Court held that although the lower

13   court had “(correctly) determined that the text message ‘deliver[ed] a 'health care' message

14   made by, or on behalf of, a 'covered entity' or its 'business associate,' as those are defined

15   in the HIPAA Privacy Rule," it should have completed its analysis by determining “whether

16   plaintiff provided his prior express consent to receive the text message.” Id at 55 (emphasis

17   added). The court reasoned that “calls that qualify for the Healthcare Exception ‘are exempt
18   from the . . . written consent requirement but are still covered by the [TCPA's] general
19   consent requirement.’” Id. (emphasis added).
20          Contrary to WPMG in Latner, Alore did not have a “business associate” relationship
21   or prior express consent to call Plaintiff. Further, in informal document exchange in this
22   case, Alore provided a copy of the web form Plaintiff completed back in 2017 offering
23   “free” diabetes supplies. That form stated: “By submitting this form, . . . I hereby give my
24   express written consent to receive marketing communications via autodialed and/or
25   prerecorded calls and/or SMS/MMS . . .” Unlike WPMG in Latner, which texted "for
26   payment, treatment and hospital operations purposes" (Id. at 53), Alore’s stated purpose for
27   its calls to Plaintiff was “marketing communications,” the opposite of what Alore now
28

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 1   claims in its Opposition to Plaintiff’s Motion for Leave to Amend Complaint. (Doc. 24 at
 2   4-5) For the foregoing reasons, Defendant’s reliance on Latner is misplaced.
 3              b) Telemarketing Calls Covered By The TCPA Health Care Rule Exception
                   Require Prior Consent; Without Consent, They Are Just Telemarketing Calls.
 4
 5          Defendant also depends on Jackson v. Safeway, Inc. for the proposition that its calls

 6   to Plaintiff were “not unsolicited advertisements.” (Doc. 25 at 4); see also Jackson, 2016

 7   U.S. Dist. LEXIS 140763. However, Defendant’s reliance is again misplaced. There are too

 8   many substantive distinctions between Jackson and the instant case to make a comparison

 9   relevant, the most important being prior express consent. In Jackson, when plaintiff
10   received a flu shot from the Safeway pharmacy, she also completed a Consent and Release
11   form where she provided her cell number. Id. at *3. Through prerecorded phone calls,
12   Safeway called 1) existing patients who had provided their number; 2) had received a flu
13   shot at Safeway the previous season; and 3) Safeway had no record they had received a flu
14   shot for the current season. Id. at *4. The plaintiff received a voicemail reminding her to
15   get a flu shot and brought an action under the TCPA. Id. at *5. Safeway asserted a defense
16   of 47 C.F.R. § 64.1200(a)(2), the “Telemarketing Health Care Exception” (referred to
17   herein as the Health Care Rule exception). Id. at *13. The court concluded that “Plaintiff
18   provided her express consent to receive such calls under the Telemarketing Health Care
19   Exception and granted summary judgment for Safeway Id. at *34. The court also noted in
20   dicta that “Plaintiff did not revoke her consent at any point in time,” so even the second call
21   she claimed to have received two months later would have been “within the scope of her
22   provided consent. Id. (citing Reardon, 115 F. Supp. 3d at 1102 ("The 2015 FCC Order also
23   makes clear that consumers may revoke consent through any reasonable means, either orally
24
     or in writing.").
25
            The key facts in Jackson are inapposite to the instant case; Plaintiff here expressly
26
     revoked consent to be called. Therefore, calls to Plaintiff were NOT excepted by the TCPA
27
     Health Care Rule and are in violation of the TCPA. Thus, using Defendant’s own argument
28

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 1   that TCPA rules should apply to WADAD, Alore was also in violation of the WADAD.
 2   Accordingly, Defendant is also in violation of the CPA through statutory inference.
 3          Defendant may argue that the Jackson court also states(in dicta) that “[u]nder the
 4   plain language of 47 C.F.R. § 64.1200(a)(2), it appears that "a call that delivers a 'health
 5   care' message made by, or on behalf of, a 'covered entity' or its 'business associate'" is not
 6   subject to any consent requirement, written or otherwise.” Id. at *21. However, the court
 7   does not consider the issue and goes on to say that “[f]or purposes of this motion, the Court
 8   assumes that the use of prerecorded calls delivering a ‘health care’ message requires prior
 9   express consent.” Id. Nevertheless, the issue of consent was later analyzed in depth by the
10   Coleman court, and the court’s findings are instructive. See Coleman v. Rite Aid of Georgia,
11   Inc., 284 F. Supp. 3d 1343 (N.D. Ga. 2018). In Coleman, the plaintiff received pre-recorded
12   automated voice messages on his cell phone from Rite Aid regarding prescription
13
     medications; however, the messages were for a different person. Id. at *1345. The plaintiff
14
     contacted Rite Aid and told them they were calling the wrong number, but they continued
15
     to call him, clearly without consent. Id. The court then scrutinized the consent provision of
16
     47 C.F.R. § 64.1200(a)(2), the TCPA Health Care Rule. Id. at *1347. The court determined
17
     that most authority found express consent a requirement;
18
                   “Many courts have found that this provision provides an
19
                   exemption only from the requirement of prior express written
20                 consent, rather than a wholesale exemption from any consent
21                 requirement. See Latner v. Mount Sinai Health Sys., Inc., No. 17-
                   99-cv, 879 F.3d 52, 2018 U.S. App. LEXIS 114, 2018 WL 265085,
22
                   at *2 (2d Cir. Jan. 3, revised Jan. 9, 2018) (finding that the "FCC
23                 exempts from written consent calls to wireless cell numbers if the
24                 call 'delivers a "health care" message made by, or on behalf of, a
                   "covered entity" or its "business associate," as those are defined in
25                 the HIPAA Privacy Rule.'" (quoting 47 C.F.R. § 64.1200(a)(2));
26                 Zani v. Rite Aid Headquarters Corp., 246 F. Supp. 3d 835, 845-46
                   (S.D.N.Y. 2017) (same); Sullivan v. All Web Leads, Inc., No. 17-C-
27
                   1307, 2017 U.S. Dist. LEXIS 84232, 2017 WL 2378079, at *3 (N.D.
28                 Ill. June 1, 2017) ("Despite some ambiguity in the wording of this

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 1                   'health care rule' . . . , the FCC has clarified that such calls are
 2                   exempted only from the written consent requirement." (citing
                     Consumer & Governmental Affairs Bureau Seeks Comment on
 3
                     Petition for Expedited Declaratory Ruling & Exemption from Am.
 4                   Ass'n of Healthcare Admin. Mgmt., 29 FCC Rcd. 15267, 15267 n.7
 5                   (Dec. 17, 2014), 2014 WL 7188888 (hereinafter "2014 FCC Public
                     Notice"))).”
 6
 7   Id. at *1347 (emphasis added). However, the court noted that “at least one other court has

 8   held (in dicta) just the opposite.” Id. at *1348 (citing Jackson, 2016 U.S. Dist. LEXIS

 9   140763, at *7). The court used the “Auer deference”3 to resolve any questionable ambiguity

10   regarding “consent” in the TCPA Health Care Rule. Id. The court then concluded that the

11   FCC’s express interpretations should be accepted because they were not “plainly erroneous

12   or inconsistent with the regulation.” Id.

13                   “Accordingly, the Court defers to the FCC's interpretation that calls
14                   excepted by the Health Care Rule require prior express consent.
                     Because Coleman avers that he did not provide any consent to
15                   the calls made by Rite Aid, the Health Care Rule does not apply,
16                   and dismissal is not warranted on this ground.”
17   Coleman, 284 F. Supp. 3d at *1348 (emphasis added). There is no question that in the instant
18   case, where Plaintiff also did not provide any consent after his revocation, the TCPA Health
19   Care Rule Exception does NOT apply. Therefore, Alore’s calls to Plaintiff were
20   telemarketing calls that squarely violate WADAD and were actions of the very nature that
21   WADAD was enacted to prohibit. "The [Washington] legislature finds that the use of
22   automatic dialing and announcing devices for purposes of commercial solicitation: (1)
23
     deprives consumers of the opportunity to immediately question a seller about the veracity
24
     of their claims; (2) subjects consumers to unwarranted invasions of their privacy; and (3)
25
     encourages inefficient and potentially harmful use of the telephone network. The legislature
26
27   3
      Id. (Auer v. Robbins, 519 U.S. 452, 117 S. Ct. 905, 137 L. Ed. 2d 79 (1997) (“Auer deterrence is
     warranted only when the language of the regulation is ambiguous . . . ." (quoting Christensen v. Harris
28   Cty., 529 U.S. 576, 588, 120 S. Ct. 1655, 146 L. Ed. 2d 621 (2000))).

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 1   further finds that it is in the public interest to prohibit the use of automatic dialing and
 2   announcing devices for purposes of commercial solicitation." WADAD - RCW 80.36.400,
 3   Legislative finding—1986 c 281 § 1. Since Alore’s calls violated the WADAD, they also
 4   violated the CPA by statutory inference.
 5             4. If Alore’s Calls Were Covered By The “Health Care Treatment” Exception,
 6                Alore Violated The FCC Order Creating The Exception And Therefore Does
                  Not Qualify For Exemption
 7
            In the 2015 TCPA Order, the FCC adopted several conditions for each exempted call
 8
     made by a provider The Health Care Treatment exception. 2015 TCPA Order at 8031. As
 9
     the Coleman court stated, “to meet the exception, a ‘healthcare provider must honor ... opt-
10
     out requests immediately’” and must further “…offer recipients within each message an
11
     easy means to opt out of future such messages…” Coleman, 284 F. Supp. 3d at 1350
12
     (quoting the 2015 TCPA Order, at 8032).
13
14
            Even if this Court were to determine that the communications sent from Defendant

15   were not telemarketing (they were), and adopt the description of the calls provided by

16   Defendant as “prescription refill requests” in its Opposition to Plaintiff’s Motion for Leave

17   to Amend Complaint (Doc. 24, 4), such communications would necessarily be subject to

18   requirements of the Health Care Treatment Exception set forth by the 2015 TCPA Order.

19   However, Defendant’s own admissions and allegations preclude it from exemption under

20   the Health Care Treatment exception, as Plaintiff has already discussed in his Reply in

21   Support of His Motion for Leave to Amend Complaint. (Doc. 26, 7) In describing the Health
22   Care Treatment Exception, the 2015 TCPA Order requires callers to satisfy each of the
23   following seven requirements;
24                 We adopt the following conditions for each exempted call (voice
25                 call or text message) made by or on behalf of a healthcare provider:
26                 1) voice calls and text messages must be sent, if at all, only to the
27                    wireless telephone number provided by the patient;
28

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 1                 2) voice calls and text messages must state the name and contact
 2                    information of the healthcare provider (for voice calls, these
                      disclosures would need to be made at the beginning of the call);
 3
                   3) voice calls and text messages are strictly limited to the purposes
 4                    permitted in para. 146 above; must not include any
 5                    telemarketing, solicitation, or advertising; may not include
                      accounting, billing, debt-collection, or other financial content; and
 6
                      must comply with HIPAA privacy rules;
 7                 4) voice calls and text messages must be concise, generally one
 8                    minute or less in length for voice calls and 160 characters or less
                      in length for text messages;
 9
                   5) a healthcare provider may initiate only one message (whether by
10                    voice call or text message) per day, up to a maximum of three
11                    voice calls or text messages combined per week from a specific
                      healthcare provider;
12
                   6) a healthcare provider must offer recipients within each message an
13                    easy means to opt out of future such messages, voice calls that
14                    could be answered by a live person must include an automated,
                      interactive voice- and/or key press-activated opt-out mechanism
15
                      that enables the call recipient to make an opt-out request prior to
16                    terminating the call, voice calls that could be answered by an
17                    answering machine or voice mail service must include a toll-free
                      number that the consumer can call to opt out of future healthcare
18
                      calls, text messages must inform recipients of the ability to opt out
19                    by replying “ “STOP,” which will be the exclusive means by
20                    which consumers may opt out of such messages; and,
                   7) a healthcare provider must honor the opt-out requests
21
                      immediately.
22
     2015 TCPA Order, at 8031-8032 (emphasis added); see also Jackson, 2016 U.S. Dist.
23
     LEXIS 140763, at *11-12.
24
            As stated in Plaintiff’s Reply in Support of His Motion for Leave to Amend
25
     Complaint, “calls placed to Plaintiff 3) included telemarketing, solicitation, or advertising;
26
     5) occurred more than once per day, and more than three times per week; 6) did not offer
27
28

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 1   an easy means to opt out of future such messages; and 7) Defendant did not honor the
 2   repeated opt-out requests by Plaintiff.” (Doc. 26, 8).
 3          Although, for purposes of this motion, the court must accept as true all Plaintiff’s
 4   allegations, requirement seven above is uncontestedly true. Defendant does not dispute that
 5   Defendant continued to call Plaintiff after he did in fact revoke any consent for Defendant
 6   to call (Doc. 19, 3), and asked Defendant to stop shipping him unwanted supplies (See supra
 7   p. 5). As such, Defendant, by its own admissions, is in violation of the seventh requirement
 8   and therefore “cannot take shelter under the Health Care Treatment Exception…” Coleman,
 9   284 F. Supp. 3d at 1350 (“Rite Aid continued the offending calls after Coleman requested
10   that they stop. Rite Aid therefore cannot utilize the exception on this ground.”) Id.
11          Accordingly, because Defendant failed to fulfill the requirements set forth by the
12   FCC for the Health Care Treatment Exception, Plaintiff also satisfies his CPA claim by
13
     statutory inference. See RCW 80.36.400(3). Plaintiff also satisfies his WADAD claim
14
     under the Health Care Rule exception because Defendant does not qualify for the exception
15
     due to lack of consent.
16
            B.    Plaintiff’s Complaint Satisfies All Five (5) Elements Of A CPA Claim
17
18          However, Plaintiff independently satisfies his CPA claim as well. The Washington

19   Consumer Protection Act (“CPA”), RCW 19.86, was enacted by the Legislature to “protect

20   the public and foster fair and honest competition.” Hangman Ridge, 105 Wash. 2d at 783.

21   Five elements must be established by a plaintiff to prevail under a private CPA action; (1)

22   unfair or deceptive act or practice; (2) occurring in trade or commerce; (3) public interest

23   impact; (4) injury to plaintiff in his or her business or property; and (5) causation. RCW
24   19.86. All five elements are satisfied by Plaintiff’s First Amended Complaint.
25               1. Unsolicited Calls To Plaintiff After Clear Revocation Are Unfair Or
                    Deceptive Acts
26
27          Once a consumer has terminated a prior relationship with a company, it is unfair
28   competition for that company to continue to take advantage of the prior personal

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 1   information it had collected about the consumer. Here, Plaintiff expressly told Alore many
 2   times to stop calling him and to cancel his account. (Doc. 21-2 ¶¶19, 25). Alore’s own
 3   system verifies this, and that Plaintiff would be getting his supplies from a local pharmacy.
 4   Yet, Alore continued to use Plaintiff’s phone number, the information that he has diabetes,
 5   and other personal information it had gathered, to solicit future business from him at an
 6   unfair disadvantage to local pharmacies. Alore also used at least three different phone
 7   numbers to deceive Plaintiff into answering its telemarketing calls. Deception becomes
 8   easier as technology has improved, since robocallers can easily spoof numbers. Defendant’s
 9   robocalls were thus unfair and deceptive.
10
                  2. Defendant’s Commercial Solicitation Calls to Plaintiff Clearly Occurred As
11                   Part Of Trade Or Commerce
12             Marketing is a key element of Commerce. Even Defendant, in its Motion for
13   Judgment on the Pleadings, does not question that Plaintiff has satisfied this element. (Doc.
14   25, 3).
15
                  3. The TCPA Was Enacted To Impact Public Interest.
16
               If this Court determines Defendant has violated the Telephone Consumer Protection
17
     Act (“TCPA”), then Defendant has met the “public interest impact” element of the CPA.
18
     The CPA states: “In a private action in which an unfair or deceptive act or practice is alleged
19
     under RCW 19.86 a claimant may establish that the act or practice is injurious to the public
20
21
     interest because it: (1) Violates a statute that incorporates this chapter; (2) Violates a statute

22   that contains a specific legislative declaration of public interest impact; or (3) (a) Injured

23   other persons; (b) had the capacity to injure other persons; or (c) has the capacity to injure

24   other persons.” RCW 19.86.093. “[T]he public interest element [of a CPA claim] is satisfied

25   per se by a showing of conduct in violation of a statute containing a specific legislative

26   declaration of public interest impact.” Moritz v. Daniel N. Gordon, P.C., 895 F. Supp. 2d

27   1097, 1113 (W.D. Wash. 2012).

28

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 1          Express Congressional intent in passing the TCPA was to “protect the privacy
 2   interests of residential telephone subscribers” by placing certain restrictions on the use of
 3   unsolicited, automated phone calls made by telemarketers who were “blasting” out
 4   advertising by the use of both “facsimile machines and automatic dialers.” (See, e.g. Senate
 5   Report No. 102-178, October 8, 1991, 1991 U.S.C.C.A.N. 1968.) The Legislative history
 6   shows that in enacting the TCPA, the Legislation was adopted as a response to the
 7   “increasing number of consumer complaints” regarding “telemarketing calls and
 8   communications.” Id. at 1969. Senator Fritz Hollings, the original bill’s sponsor, remarked
 9   that indiscriminate “calls are the scourge of modern civilization. They wake us up in the
10   morning; they interrupt our dinner at night; they force the sick and elderly out of bed; they
11   hound us until we want to rip the telephone right out of the wall…. These calls are a
12   nuisance and an invasion of our privacy.” (Congressional Record – Senate Proceedings and
13
     Debates of the 102nd Congress, First Session. July 11, 1991, 137 Cong. Rec. S9840,
14
     S9874). Almost thirty (30) years later, courts continue to refer to the public interest element
15
     of the TCPA; in fact, the Ninth Circuit has repeatedly affirmed that the TCPA withstands a
16
     Constitutional First Amendment challenge under intermediate scrutiny because it is
17
     “narrowly tailored to advance the ‘government’s interest in residential privacy. . .’” Duguid
18
     v. Facebook, Inc., No. 17-15320, 2019 U.S. App. LEXIS 17675 (9th Cir. June 13, 2019).
19
            As discussed, Defendant has already conceded to Plaintiff that Defendant has
20
     violated the TCPA by using an automated telephone dialing system to call Plaintiff’s cellular
21
     phone without Plaintiff’s consent; the only question remaining is the date of revocation (i.e.
22
     how many calls are at issue). (Doc. 19, 3). Therefore, since the TCPA has stated a legislative
23
     public interest impact, the public interest impact element of the CPA has been satisfied.
24
               4. Plaintiff Has Sustained Injury In His Property.
25
26          Defendant claims in its Motion for Judgment on the Pleadings that Federal district
27   Courts in Washington “have found that allegations of telephonic solicitations are
28   insufficient to sustain a CPA claim.” (Doc. 25, 4) However, Defendant misstates the courts’

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 1   findings in both cases cited by Defendant to support its argument; Wick v. Twilio Inc., No.
 2   C16-00914RSL, 2017 WL 2964855 (W.D. Wash. July 2017), and Gragg v. Orange Cab
 3   Co., 942 F. Supp. 2d 1111, 1117–19 (W.D. Wash. 2013). Neither court found such a broad
 4   holding as Defendant wishes the Court to believe.
 5          First, the court in Wick did find that the plaintiff had failed to state a CPA claim;
 6   however, the court’s reasoning was based on consent. Defendant’s quote from that case that
 7   there is “no legal or factual basis” for the assertion that “transmitting a solicitation to a cell
 8   phone without consent is an unfair or deceptive act” is taken out of context and misconstrues
 9   the holding of the court. (Doc. 25, 4) Similar to the instant case, the plaintiff in Wick
10   “attempted to obtain a free sample of a product on the web . . .” See Wick, 2017 WL
11   2964855, at *1. The product was from Crevalor, a supplier of hormone enhancers.
12   Immediately after completing the web form, the plaintiff received a single text message that
13
     read: "Noah, Your order at Crevalor is incomplete and about to expire. Complete your order
14
     by visiting http://hlth.co/xDoXEZ." Id. at *15. This is similar to the messages Plaintiff
15
     received in the instant case, except Plaintiff did not just receive a single text, but instead
16
     received fifty (50) automated phone calls and voicemails. (Doc. 21-2 ¶30) The court in
17
     Wick found that plaintiff entered his identifying information, . . . agreed to terms . . . and
18
     clicked on the ‘Rush My Order” button before closing the webpage.” See Wick, 2017 WL
19
     2964855, at *16. Therefore, the court held the text message he received was not
20
     telemarketing because it was “aimed at completing a commercial transaction that he had
21
     initiated and for which he had provided his phone number.” Id. Regarding “consent,” the
22
     Court concluded that:
23
24                 “[T]he text message plaintiff received does not constitute
                   telemarketing. Because plaintiff consented to the communications at
25                 issue when he submitted his telephone number as part of Crevalor's
26                 ordering process, plaintiff fails to plead a TCPA violation.”
27   Id. (emphasis added). Finding that the defendant had consent to contact plaintiff, the court
28   went on to state that “To the extent plaintiff has alleged that transmitting a solicitation to a
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 1   cell phone without consent is an unfair or deceptive act . . . , it offers no legal or factual
 2   basis for such an assertion.” Wick, 2017 WL 2964855, at *18. The court did not determine
 3   that any “allegations of telephonic solicitations are insufficient to state a CPA claim,” as
 4   Defendant incorrectly states. (Doc. 25, 4) Instead the Wick court found that because the
 5   defendant had consent, its text message was not unfair or deceptive; thus, defendant did not
 6   violate the CPA. Wick, 2017 WL 2964855, at *16. The reason plaintiff could not satisfy his
 7   injury and causation elements was because he had given defendant consent to call him. Id.
 8   Aside from sending one text instead of making 50 phone calls, the key differentiation in
 9   facts is that the defendant in Wick had consent and Alore did not. This is inapposite to
10   Defendant’s claim that the Wick court failed to find a CPA claim because “telephonic
11   solicitations” cannot cause injury. Id.
12          Second, in addition to Wick, Defendant cites to Gragg v. Orange Cab Co. to support
13   its claim that “telephone solicitations are insufficient to sustain a CPA claim.” (Doc. 25, 4).
14   However, no court has ever held that. After a diligent search, it seems Wick and Gragg may
15   be the only cases which consider telemarketing CPA claims. However, the reasoning in
16   Wick was about consent (as described above) and the facts in Gragg are substantively
17   distinct from the instant case. In Gragg, the plaintiff ordered a taxi and was sent a single
18   text that his taxi was being dispatched; included in that text was a link to a smart phone
19   application for booking taxis, which was the basis of plaintiff’s CPA claim. Gragg, 942
20   F.Supp.2d at 1112. A single text sent with a plaintiff’s consent is immensely different than
21
     the continued harassment of at least fifty (50) unsolicited prerecorded calls and voicemails
22
     made with no easy way to opt out, after Plaintiff telling Alore at least ten times to stop.
23
     Plaintiff must be available by phone at all times to take care of his family and friends.
24
     Plaintiff’s phone is his property and he uses it all day long (as we all do), and for a
25
     telemarketer to repeatedly take over his phone and voicemail storage space via robocalls,
26
     even for short periods, is injurious and an invasion of privacy, especially when he has no
27
     power to make them stop.
28

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 1          There is a lack of clarity in what constitutes “injury to one’s property” under the
 2   CPA. Apparently, Gragg is the only case that has even addressed that question directly in
 3   relation to telemarketing. Id. at 1118. The plaintiff in Gragg argued an injury of the “loss
 4   of the full capacities of plaintiff’s cell phone . . . such as diminished electronic storage
 5   space.” Id. at 1119. As the court stated, “the infinitesimal, fleeting loss of electronic storage
 6   space that plaintiff alleges . . . can only be described as uncompensable inconvenience.” Id.
 7   It is no wonder that the court failed to find an injury from a single text sent with consent.
 8   However, it seems that no Washington court has directly considered the Hangman Ridge
 9   injury and causation elements of a CPA claim based on repeated automated telemarketing
10   robocalls made without consent, as is the case here.
11          Courts have found non-pecuniary injury sufficient for a CPA claim. For example,
12   the case upon which Gragg relied found:
13
                   “Monetary damages need not be proved; unquantifiable damages
14                 may suffice. Id. (loss of goodwill); NW. Airlines, Inc. v. Ticket
15                 Exch., Inc., 793 F.Supp. 976 (W.D.Wash., 1992) (proof of injury
                   satisfied by “stowaway theory” where damages are otherwise
16
                   unquantifiable in case involving deceptive brokerage of frequent
17                 flier miles); Fisons, 122 Wash.2d 299, 858 P.2d 1054 (damage to
18                 professional reputation); Sorrel v. Eagle Healthcare, Inc., 110
                   Wash.App. 290, 298, 38 P.3d 1024 (2002) (injury by delay in refund
19
                   of money); Webb v. Ray, 38 Wash.App. 675, 688 P.2d 534 (1984)
20                 (loss of use of property).”
21
     Panag v. Farmers Ins. Co. of Washington, 166 Wash. 2d 27, 57–58, 204 P.3d 885, 899
22
     (2009). Further, the Washington Supreme Court held that the “injury element” does not
23
     require proof of monetary damages.
24
                   “In Nordstrom, Inc. v. Tampourlos, 733 P.2d 208 (1987), we
25
                   distinguished between the terms "injury" and "damages" and held
26                 that "[t]his distinction makes it clear that no monetary damages need
27                 be proven, and that nonquantifiable injuries, such as loss of goodwill
                   would suffice for this element of the Hangman Ridge test." The fact
28
                   that the Act allows for injunctive relief bolsters the conclusion that
                                                                 PLAINTIFF’S MEMORANDUM OF LAW IN
                                                  - 19 -            OPPOSITION TO DEFENDANT’S MJOP
                                                                             CASE # 3:19−CV−05086−BHS
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 1                 injury without specific monetary damages will suffice. A loss of use
 2                 of property which is causally related to an unfair or deceptive act or
                   practice is sufficient injury to constitute the fourth element of a
 3
                   Consumer Protection Act violation. Mason v. Mortgage Am., Inc.,
 4                 792 P.2d 142 (1990) . . . When a misrepresentation causes
 5                 inconvenience that deprives the claimant of the use and enjoyment
                   of his property, the injury element is satisfied. See Tallmadge v.
 6                 Aurora Chrysler Plymouth, Inc., 605 P.2d 1275 (1979)”
 7
     Stephens v. Omni, 138 Wn. App. 151, 179-80 (Wash. Ct. App. 2007). The Legislature
 8
     intended the CPA to be construed liberally. RCW 19.86.920 (“this act shall be liberally
 9
     construed that its beneficial purposes may be served”). Thus, Plaintiff’s injuries should be
10
     liberally viewed, especially considering that only one Washington case has interpreted the
11
     CPA injury element for telemarketing (with substantive facts so clearly distinct from the
12
     instant case) and that the Washington Supreme Court has cited approvingly cases accepting
13
     non-monetary injury.
14
               5. Alore’s Actions Are The Cause Of Plaintiff’s Injury.
15
16          Defendant’s bombardment of telemarketing robocalls and automated voicemail
17   messages was directly responsible for taking over Plaintiff’s property (cell phone) and
18   filling up his voicemail box causing him to miss calls. But for Defendant’s actions, Plaintiff
19   would not have suffered injury in his property; thus, causation is satisfied.
20    V.    CONCLUSION
21
            Plaintiff has made sufficient allegations in his complaint to make both his CPA and
22
     WADAD claims plausible. As a matter of law, Plaintiff’s complaint survives Defendant’s
23
     motion for judgment on the pleadings. Therefore, for the foregoing reasons, the Court
24
     should deny Defendant’s motion.
25
26                                                    RESPECTFULLY SUBMITTED,

27          DATED: July 15, 2019
28

                                                               PLAINTIFF’S MEMORANDUM OF LAW IN
                                                 - 20 -           OPPOSITION TO DEFENDANT’S MJOP
                                                                           CASE # 3:19−CV−05086−BHS
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 6                                                   Allen Taylor
 7
 8
 9                               CERTIFICATE OF SERVICE
10         I hereby certify that on July 15, 2019, I electronically filed the following document(s)
11   with the Clerk of the Court using the ECF system:
12
13      1) Plaintiff’s Memorandum of Law in Opposition to Defendant Alore, LLC’s Motion
14         for Judgment on the Pleadings
15
16         Notice of such filing will be sent to all attorneys of record in this matter. Since none
17   of the attorneys of record are non-ECF participants, hard copies of the foregoing have not
18   been provided via personal delivery or by postal mail.
19
20
     Dated: July 15, 2019                          PRICE LAW GROUP, APC
21
                                                    /s/Jacey Gutierrez
22
23
24
25
26
27
28

                                                               PLAINTIFF’S MEMORANDUM OF LAW IN
                                                - 21 -            OPPOSITION TO DEFENDANT’S MJOP
                                                                           CASE # 3:19−CV−05086−BHS
